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 Attorneys for Plaintiffs

                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF HAWAIʻI

  GRAHAM T. CHELIUS, M.D., et al.,      CIV. NO. 1:17-cv-00493-DKW-KSC
               Plaintiffs,
                                        [CIVIL RIGHTS ACTION]
               vs.
                                        NOTICE OF ERRATUM TO
  ALEX M. AZAR, J.D., in his official   PLAINTIFFS’ MEMORANDUM
  capacity as SECRETARY, U.S.           OF LAW IN OPPOSITION TO
  D.H.H.S., et al.,                     DEFENDANTS’ 12(b)(1) MOTION
                                        TO DISMISS
                       Defendants.
                                        Judge: Hon. Derrick K. Watson
                                        Hearing Date: June 1, 2018
                                        Hearing Time: 9:30 AM
                                        Related Documents: Dkt. Nos. 30, 34
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  NOTICE OF ERRATUM TO PLAINTIFFS’ MEMORANDUM OF LAW IN
    OPPOSITION TO DEFENDANTS’ 12(b)(1) MOTION TO DISMISS

       Plaintiffs hereby give notice of erratum to the Court and all Parties regarding

 their Memorandum of Law in Opposition to Defendants’ 12(b)(1) Motion to

 Dismiss (the “Opposition”).

       On April 12, 2018, Plaintiffs filed their Opposition (filed as Dkt. No. 34).

 Exhibit E to the Opposition—i.e., the Declaration of Jared Garrison-Jakel, M.D.

 (filed as Dkt. No. 34-5)—includes a signature page (i.e., page 8) that does not

 include a “fax signature” under LR10.2(e). A corrected Exhibit E—that substitutes

 page 8 with a signature page that includes a “fax signature”—is attached to this

 Notice. The corrected Exhibit E attached hereto is otherwise identical to the

 document originally filed as Dkt. No. 34-5 and should be used instead.

 Dated: April 18, 2018.

                                        Respectfully submitted,

                                        /s/ Mateo Caballero
                                        MATEO CABALLERO
                                        ACLU of Hawaiʻi Foundation

                                        JULIA KAYE
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                                        American Civil Liberties Union Foundation

                                        Attorneys for Plaintiffs




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                          CERTIFICATE OF SERVICE

       I hereby certify that on this 18th day of April, 2018, I electronically

 transmitted the foregoing document to the Clerk’s Office using the CM/ECF

 System, which will send notification of such filing to all counsel of record.


                                  /s/ Mateo Caballero
                                  MATEO CABALLERO
                                  ACLU of Hawaiʻi Foundation

                                  Attorney for Plaintiffs




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